The relief described hereinbelow is SO ORDERED.

SIGNED this 11th day of May, 2018.




_________________________________________________________________________




                            UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF KANSAS

                                        )
In re:                                  )
                                        )                          Case No. 16-21142
JOHN Q. HAMMONS FALL 2006, LLC, et al., )                          (Lead Case)
                                        )
              Debtors.                  )                          Chapter 11
                                        )

      CORRECTED ORDER CONFIRMING MODIFIED AMENDED JOINT AND
      CONSOLIDATED CHAPTER 11 PLANS OF REORGANIZATION FOR ALL
            DEBTORS FILED BY CREDITOR JD HOLDINGS, L.L.C.


               JD Holdings, L.L.C. (“JD Holdings”) 1 having proposed and Filed:

    a. the Modified Amended Joint and Consolidated Chapter 11 Plans of Reorganization for
       All Debtors Filed by Creditor JD Holdings, L.L.C., dated March 30, 2018 [Docket No.
       1946] (as amended, supplemented, or modified from time to time, the “Plans”);



1
       Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
       Plans or the Disclosure Statement Order (each, as defined below), as applicable.




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   b. the Modified Amended Disclosure Statement with Respect to Modified Amended Joint
      and Consolidated Chapter 11 Plans of Reorganization for All Debtors Filed by Creditor
      JD Holdings, L.L.C., dated March 30, 2018 (the “Disclosure Statement”); and

   c. the Notice of Filing of Plans Supplement in Connection with the Modified Amended Joint
      and Consolidated Chapter 11 Plans of Reorganization for All Debtors Filed by Creditor
      JD Holdings, L.L.C., dated April 20, 2018 [Docket No. 2050], as amended by the Notice
      of Filing of Amendments to Plans Supplement in Connection with the Modified Amended
      Joint and Consolidated Chapter 11 Plans of Reorganization for All Debtors Filed by
      Creditor JD Holdings, L.L.C., dated April 26, 2018 [Docket No. 2091] (collectively, and
      as further amended, supplemented, and/or modified from time to time, the “Plans
      Supplement”);

this Court having:

   d. entered the Order Approving Amended Disclosure Statement Filed by Creditor JD
      Holdings, L.L.C. and Setting Confirmation Hearing, dated March 28, 2018 [Docket No.
      1940] (the “Disclosure Statement Order”);

JD Holdings having:

   e. provided proper notice of the hearing before this Court to consider the confirmation of
      the Plans (the “Confirmation Hearing”) to Holders of Claims against, or Equity Interests
      in, the Debtors, as indicated by the Certificate of Service of the Plans, Disclosure
      Statement, and Notice of Confirmation Hearing, Hearing Regarding Assumption and
      Assignment of Executory Contracts and Unexpired Leases, Deadline to Amend Claims,
      Deadline to File Plans Supplement, and Deadline to Object to Confirmation, dated April
      2, 2018 [Docket No. 1958];

this Court:

   f. having found that the notice provided regarding the Confirmation Hearing and the
      opportunity for any party in interest to object to Confirmation have been adequate and
      appropriate under the circumstances and no further notice is required;

   g. being fully familiar with the Plans and other relevant factors affecting the Chapter 11
      Cases;

   h. being fully familiar with, and having taken judicial notice of, the entire record of the
      Chapter 11 Cases;

   i. having held the Confirmation Hearing, which hearing included further arguments and
      evidence regarding confirmation of and other relief sought in the Plans;

   j. having considered the entire record of the Confirmation Hearing, including, but not
      limited to:




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i. the Plans (including the Plans Supplement), the Disclosure Statement, and the
   Disclosure Statement Order;

ii. the objections, reservation of rights, and other responses Filed with respect to
    the Plans (collectively, the “Objections”), including the following:

           1. The City of Glendale, Arizona’s Reservation of Rights of Its
              Objections to the Confirmation of JD Holdings LLC’s Plans
              [Docket No. 2002];

           2. The City of Huntsville’s Objection to Modified Amended Joint and
              Consolidated Chapter 11 Plans of Reorganization for All Debtors
              Filed by Creditor JD Holdings, L.L.C. [Docket No. 2004];

           3. HLT Existing Franchise Holding LLC’s Limited Objection to
              Modified Amended Joint and Consolidated Chapter 11 Plans of
              Reorganization for All Debtors Filed by Creditor JD Holdings,
              L.L.C. [Docket No. 2006];

           4. Oracle’s Rights Reservation Regarding Modified Amended Joint
              and Consolidated Chapter 11 Plans of Reorganization for All
              Debtors Filed by Creditor JD Holdings, L.L.C. (“Rights
              Reservation”) [Docket No. 2009];

           5. Objection of UBS Securities LLC to the Modified Amended Joint
              and Consolidated Chapter 11 Plans of Reorganization for All
              Debtors Filed by Creditor JD Holdings, L.L.C. [Docket No. 2010];

           6. Objection of Missouri State University and the Missouri State
              University Foundation to Confirmation of the Modified Amended
              Joint and Consolidated Chapter 11 Plans of Reorganization for All
              Debtors Filed by Creditor JK Holdings, L.L.C. [Docket No. 2014];

           7. Objection of AJJ Hotel Holdings, Inc. to Modified Amended Joint
              and Consolidated Plans of Reorganizations for All Debtors (ECF
              No. 1946) [Docket No. 2015];

           8. Holiday Hospitality Franchising, LLC’s Limited Objection to
              Modified Amended Joint and Consolidated Chapter 11 Plans of
              Reorganization for All Debtors Filed by Creditor JD Holdings,
              L.L.C. [Docket No. 2020]

           9. CMBS Lenders’ Objection to Confirmation of Modified Amended
              Joint and Consolidated Chapter 11 Plans of Reorganization for All




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                             Debtors Filed by JD Creditor Holdings, L.L.C. [Docket No.
                             2022] 2;

                         10. City of Springfield’s Reservation of Rights of its Objections with
                             Regard to Confirmation of JD Holdings LLC’s Plan [Docket No.
                             2023];

                         11. Objection to Notice of Confirmation Hearing, Hearing Regarding
                             Assumption and Assignment of Executory Contracts and
                             Unexpired Leases, Deadline to Amend Claims, Deadline to File
                             Plans Supplement, and Deadline to Object to Confirmation Filed
                             by Ruby E. Lockhart [Docket No. 2034];

                         12. City of East Peoria, Illinois, Limited Objection to Modified
                             Amended Joint and Consolidated Chapter 11 Plans of
                             Reorganization for All Debtors Filed by Creditor JD Holdings,
                             L.L.C. [Docket No. 2057];

                         13. Exhibit List Filed by Creditor City of Huntsville, Alabama [Docket
                             No. 2070];

                         14. City of Springfield’s Supplemental Objection to JD Holdings,
                             L.L.C.’s Amended Plan [Docket No. 2071]

                         15. Supplement to CMBS Lenders’ Objection to Plan Confirmation
                             [Docket No. 2072];

                         16. Response of AJJ Hotel Holdings, LLC (n/k/a JWJ Hotel Holdings,
                             Inc.) to Memorandum of JD Holdings, L.L.C. and Omnibus
                             Response [Docket No. 2073]

                         17. Objection of Michael Kammerer Co-Manager of the REW Interests
                             in Blue Hills Co., LLC to the Modified Amended Joint and
                             Consolidated Plans of Reorganizations for All Debtors (ECF Nos.
                             1900, 1946 and 2050) [Docket No. 2076]; and

                         18. Supplement to CMBS Lenders’ Objection to Plan Confirmation
                             [Docket No. 2079];

            iii. the statements Filed in support of the Plans:

                         1. Notice of Support for the Amended Joint and Consolidated
                            Chapter 11 Plans of Reorganization for All Debtors Filed by



2
    Docket No. 2022 incorporates by reference the CMBS Lenders’ Objection to Substantive Consolidation
    filed on February 22, 2018 [Docket No. 1833].




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                         Creditor JD Holdings, L.L.C. Filed by Hawthorn Bank [Docket
                         No. 2021];

                     2. Morton Community Bank’s Notice of Support of Confirmation of
                        the Modified Amended Joint and Consolidated Chapter 11 Plans of
                        Reorganization for All Debtors Filed by Creditor JD Holdings,
                        L.L.C. [Docket No. 2026];

                     3. Bank of Blue Valley’s Notice of Support for Confirmation of
                        Modified Amended Joint and Consolidated Chapter 11 Plan Filed
                        by JD Holdings, Inc. [Docket No. 2042];

                     4. Notice of Support for Amended Joint and Consolidated Chapter 11
                        Plans of Reorganization for All Debtors Filed by Creditor JD
                        Holdings, L.L.C. Filed by Simmons Bank [Docket No. 2048];

                     5. Notice of Support for Confirmation of Modified Amended Joint and
                        Consolidated Chapter 11 Plans of Reorganization for All Debtors
                        Filed by Creditor JD Holdings, L.L.C. Filed by Great Southern
                        Bank [Docket No. 2069]; and

                     6. comments of various parties in Court supporting the Plans and/or
                        withdrawing their Objections;

          iv. the replies and declarations Filed in response to the objections, reservation of
              rights, and other responses Filed with respect to the Plans (collectively, the
              “Replies”), including the following:

                     1. JD Holdings’ (I) Memorandum of Law in Support of Confirmation
                        of Modified Amended Joint and Consolidated Chapter 11 Plans of
                        Reorganization for All Debtors Filed by Creditor JD Holdings,
                        L.L.C. and (II) Omnibus Response to Objections to Confirmation
                        of Plans [Docket No. 2063]; and

                     2. JD Holdings’ Reply to Objection of UBS Securities LLC to the
                        Modified Amended Joint and Consolidated Chapter 11 Plans of
                        Reorganization for All Debtors Filed by Creditor JD Holdings,
                        L.L.C. [Docket No. 2065];

          v. the Declaration of Ronald C. Brown in Support of Plan Confirmation [Docket
             No. 2034]; and

          vi. arguments of counsel;

k. having overruled any and all Objections to the Plans and to Confirmation not
   consensually resolved or withdrawn, unless otherwise indicated herein;




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   l. having found the legal and factual bases set forth in the documents Filed in support of
      confirmation and presented at the Confirmation Hearing establish just cause for the relief
      granted herein; and

after due deliberation and good and sufficient cause appearing therefor, and based on the
decision set forth on the record, it is hereby FOUND, ORDERED, and ADJUDGED that:

                    FINDINGS OF FACT AND CONCLUSIONS OF LAW

        A.     Jurisdiction and Venue. This Court has jurisdiction over the Chapter 11 Cases

and confirmation of the Plans pursuant to 28 U.S.C. § 1334. Confirmation of the Plans is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2)(A), (L), and (O), and this Court has jurisdiction to

enter an order confirming the Plans. Each of the Debtors is an eligible debtor under section 109

of the Bankruptcy Code. Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and

1409.

        B.     Commencement and Joint Administration of Chapter 11 Cases. On June 26, 2016

and July 5, 2016 (collectively, the “Commencement Dates”), the Debtors commenced the

Chapter 11 Cases by Filing their bankruptcy petitions. By order of this Court [Docket No. 40],

the Chapter 11 Cases are being jointly administered for procedural purposes. The Debtors have

operated their businesses and managed their properties as debtors in possession pursuant to

sections 1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has been appointed

in the Chapter 11 Cases.

        C.     Judicial Notice. This Court takes judicial notice of the docket of the Chapter 11

Cases maintained by the Clerk of the Court, including, but not limited to, all pleadings and other

documents Filed, all orders entered, and all evidence and arguments made, proffered, adduced,

and/or presented at the various hearings held before this Court during the pendency of the

Chapter 11 Cases.




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       D.      Plans Supplement. The Filing and notice of the Plans Supplement, as

subsequently amended, supplemented, and/or modified by Filings with this Court (including by

the Filing of the Loan Commitment, as defined in the Plans Supplement), were proper and in

accordance with the Bankruptcy Code, the Bankruptcy Rules, the Local Rules of the United

States Bankruptcy Court for the District of Kansas (the “Local Rules”), and the Disclosure

Statement Order, and no other or further notice is or shall be required.

       E.      Burden of Proof. JD Holdings has met its burden of proving the elements of

section 1129 of the Bankruptcy Code.

       F.      Bankruptcy Rule 3016. The Plans are dated March 30, 2018 and identify

JD Holdings as Plan proponent, thereby satisfying Bankruptcy Rule 3016(a). The Filing of the

Disclosure Statement satisfies Bankruptcy Rule 3016(b).

            COMPLIANCE WITH SECTION 1129 OF BANKRUPTCY CODE

       G.      Compliance with Bankruptcy Code (11 U.S.C. § 1129(a)(1)). As further detailed

below, the Plans comply with the applicable provisions of the Bankruptcy Code, thereby

satisfying section 1129(a)(1) of the Bankruptcy Code.

               1.      Proper Classification (11 U.S.C. §§ 1122 and 1123(a)(1)). Article II of

the Plans designates four (4) Classes of Claims or Equity Interests. Each of the Claims or Equity

Interests in each Class is substantially similar to each of the other Claims or Equity Interests in

each such Class. Valid business, legal, and factual reasons exist for separately classifying the

various Classes of Claims and Equity Interests under the Plans, thereby satisfying sections 1122

and 1123(a)(1) of the Bankruptcy Code.

               2.      Specified Unimpaired Classes (11 U.S.C. § 1123(a)(2)). The Plans

specify that Classes 1, 2, 3, and 4 are Unimpaired under the Plans, within the meaning of section

1124 of the Bankruptcy Code, thereby satisfying section 1123(a)(2) of the Bankruptcy Code.



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               3.      Specified Treatment of Impaired Classes (11 U.S.C. § 1123(a)(3)). The

Plans specify that Classes 1, 2, 3, and 4 are Unimpaired under the Plans, within the meaning of

section 1124 of the Bankruptcy Code. Accordingly, section 1123(a)(3) of the Bankruptcy Code

is not applicable.

               4.      No Discrimination (11 U.S.C. § 1123(a)(4)). The Plans provide for the

same treatment for each Claim or Equity Interest in each respective Class unless the Holder of a

particular Claim or Equity Interest has agreed to less favorable treatment on account of such

Claim or Equity Interest, thereby satisfying section 1123(a)(4) of the Bankruptcy Code.

               5.      Implementation of Plan (11 U.S.C. § 1123(a)(5)). Article VII and other

provisions of the Plans, the various documents included in the Plans Supplement, and the terms

of this Order provide adequate and proper means for the implementation of the Plans, including,

but not limited to, the following:

                       (a)     Asset Sale. The Plans contemplate a Sale of all Assets (including
                               Equity Interests) free and clear of all Liens and Claims (except as
                               set forth in these Plans) pursuant to sections 105, 363, 365 and
                               1129 of the Bankruptcy Code (among others) to JD Holdings or its
                               Affiliates pursuant to the revised APA, which is attached as
                               Exhibit A to the Plans Supplement. In consideration, on or shortly
                               after the Effective Date, JD Holdings shall pay all Allowed Claims
                               in full, except for any Assumed Loans (which shall be paid in
                               accordance of the existing agreements or pursuant to new
                               agreements, as applicable), and contribute Cash and certain Non-
                               Hotel Assets to a new Charitable Trust as set forth in Article V of
                               the Plans.

                       (b)     Subordination of JD Holdings’ ROFR Claim. As part of the Plans,
                               JD Holdings will subordinate its Claim arising from the ROFR to
                               the payment of all Allowed Claims. JD Holdings has an Allowed
                               Claim of $495,938,161.00 for its Claims against each Debtor
                               jointly and severally arising from the ROFR, subject to the terms
                               and conditions set forth in the Plans, the PSA, and the Settlement
                               Agreement.

                       (c)     Assumption and Assignment. JD Holdings shall have until the
                               Effective Date to identify the Rejected Executory Contracts and



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                               Unexpired Leases. Any Executory Contracts and Unexpired
                               Leases not identified as Rejected Executory Contracts and
                               Unexpired Leases shall constitute Assumed Agreements, and be
                               assumed by the applicable Debtor and assigned to JD Holdings or
                               its Affiliates as of the Effective Date, unless set forth otherwise in
                               the Plans or this Order. The Assumed Agreements to be assumed
                               by the applicable Debtor and assigned to JD Holdings or its
                               Affiliates shall be deemed assigned to JD Holdings or its Affiliates
                               pursuant to section 365(f) of the Bankruptcy Code as of the
                               Effective Date of the Plans, provided however, that in some
                               instances, the assignment of the Assumed Agreement will be
                               delayed, with the actual assignment occurring sometime after the
                               Effective Date, and this Order approves such delayed assignment.
                               In such instance, the date of assignment for such delayed Assumed
                               Agreements shall be the actual date of the assignment. The non-
                               Debtor counterparty to the Assumed Agreements shall be entitled
                               to the Cure Costs of any default under such Assumed Agreement
                               to be paid by JD Holdings to the extent that such Cure Costs are
                               Allowed Claims. The applicable assignee to each of the Assumed
                               Agreements has provided adequate assurance of future
                               performance.

                       (d)     Funding for Plans Transactions. Funds to consummate the Sale
                               and other Plans Transactions shall come from JD Holdings and its
                               Affiliates and financing from third parties, including from the Sale
                               Lender pursuant to the Sale Financing Facility.

The Plans, therefore, satisfy section 1123(a)(5) of the Bankruptcy Code.

               6.      Charter Provisions (11 U.S.C. § 1123(a)(6)). Pursuant to the Plans,

JD Holdings or its Affiliates will purchase the Debtors’ Assets (including Equity Interests).

Accordingly, the requirements of section 1123(a)(6) of the Bankruptcy Code are not applicable.

               7.      Designation of Directors and Officers (11 U.S.C. § 1123(a)(7)). Pursuant

to the Plans, all Allowed Claims will be paid in full, and JD Holdings or its Affiliates will

purchase the Debtors’ Assets (including Equity Interests). Accordingly, the requirements of

section 1123(a)(7) of the Bankruptcy Code are not applicable, but, to the extent it is applicable,

JD Holdings has disclosed the management of the purchaser.




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               8.     Additional Plan Provisions (11 U.S.C. § 1123(b)). As set forth below, the

discretionary provisions of the Plans comply with section 1123(b) of the Bankruptcy Code and

are not inconsistent with the applicable provisions of the Bankruptcy Code, thereby satisfying

section 1123(b) of the Bankruptcy Code.

                      (a)     Impairment/Unimpairment of Classes (11 U.S.C. § 1123(b)(1)). In
                              accordance with section 1123(b)(1) of the Bankruptcy Code,
                              Article IV.B. of the Plans provides that Classes 1, 2, 3, and 4 are
                              Unimpaired.

                      (b)     Assumption and Rejection of Executory Contracts and Unexpired
                              Leases (11 U.S.C. § 1123(b)(2)). In accordance with section
                              1123(b)(2) of the Bankruptcy Code, Article IX of the Plans
                              provides for the assumption of each Executory Contract and
                              Unexpired Lease, unless any such Executory Contract or
                              Unexpired Lease is identified as a Rejected Executory Contract or
                              Lease by JD holdings on or before the Effective Date.

                      (c)     Retention of Claims (11 U.S.C. § 1123(b)(3)). In accordance with
                              section 1123(b)(3) of the Bankruptcy Code, Article VIII.H. of the
                              Plans provides that all rights to commence and pursue any and all
                              Causes of Action, whether arising before, on, or after the Petition
                              Date, including the Debtors’ right to commence, prosecute, or
                              settle such Causes of Action, shall be transferred to JD Holdings
                              on the Effective Date, and JD Holdings thereafter shall commence,
                              prosecute, terminate, or settle such Causes of Action in its sole
                              discretion. If any Causes of Action cannot be transferred to JD
                              Holdings under applicable law, such Causes of Action shall be
                              retained by the Debtors notwithstanding the occurrence of the
                              Effective Date, and Debtors shall commence, prosecute, terminate,
                              or settle such Causes of Action solely at JD Holdings’ direction, in
                              JD Holdings’ sole discretion, and at JD Holdings’ expense.

                      (d)     Sale of All or Substantially All Assets (11 U.S.C. § 1123(b)(4)).
                              Article VII of the Plans calls for the sale of all Assets (including
                              Equity Interests) pursuant to sections 105, 363, 365 and 1129 of
                              the Bankruptcy Code (among others) to JD Holdings pursuant to
                              the APA.

                      (e)     Additional Plan Provisions (11 U.S.C. § 1123(b)(6)). The Plans’
                              other provisions are appropriate and consistent with the applicable
                              provisions of the Bankruptcy Code, including, but not limited to,
                              provisions for (i) Allowance of certain Claims and Equity Interests,
                              (ii) consummation of the documents that comprise the Sale



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                             Financing Facility (all such documents the “Sale Financing Facility
                             Documents”), (iii) releases by the Debtors of certain parties,
                             (iv) releases by JD Holdings, (v) releases by certain third parties,
                             (vi) exculpations of certain parties, and (vii) retention of this
                             Court’s jurisdiction.

              9.      Cure of Defaults (11 U.S.C. 1123(d)). Article III of the Plans provides for

payment in full of all Allowed Claims, including Cure Costs for each of the Assumed

Agreements. Any disputed Cure Costs shall be determined in accordance with the procedures set

forth in Article IX of the Plans, this Order, and applicable bankruptcy and non-bankruptcy law.

As such, the Plans provide that JD Holdings shall cure, or provide adequate assurance that JD

Holdings shall promptly cure, all defaults under such Assumed Agreements in compliance with

section 365(b)(1) of the Bankruptcy Code, thereby satisfying section 1123(d) of the Bankruptcy

Code.

        H.    JD Holdings’ Compliance with Bankruptcy Code (11 U.S.C. § 1129(a)(2)). As

further detailed below, JD Holdings has complied with the applicable provisions of the

Bankruptcy Code, thereby satisfying section 1129(a)(2) of the Bankruptcy Code. Specifically:

              1.      JD Holdings has complied with all applicable provisions of the

Bankruptcy Code, including, but not limited to, sections 1125 and 1126(b) of the Bankruptcy

Code, except as otherwise provided or permitted by orders of this Court.

              2.      Following the entry of the Disclosure Statement Order, the Claims and

Solicitation Agent served copies of the Disclosure Statement, Plans, and the “Notice of

Confirmation Hearing, Hearing Regarding Assumption and Assignment of Executory Contracts

and Unexpired Leases, Deadline to Amend Claims, Deadline to File Plans Supplement, and

Deadline to Object to Confirmation” on the appropriate parties, as indicated by the Claims and

Solicitation Agent’s Certificate of Service [Docket No. 1958]. Under section 1126 of the

Bankruptcy Code, only holders of allowed claims and allowed equity interests in impaired



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classes of claims or equity interests that will retain property under a plan on account of such

claims or equity interests may vote to accept or reject such plan, but under the Plans, all Classes

are Unimpaired and thus are not entitled to vote. Accordingly, JD Holdings has complied with

the applicable provisions of the Bankruptcy Code.

       I.      Plans Proposed in Good Faith (11 U.S.C. § 1129(a)(3)). The Plans reflect

extensive, good faith, arm’s length negotiations among JD Holdings, the Debtors, and other

parties in interest. The Plans and the process leading to their formulation provide independent

evidence of the JD Holdings’ good faith, and the Plans both serve the public interest and assure

fair treatment of the Holders of Claims and Equity Interests. The Plans were proposed with

honesty and good intentions, and will treat all of the Debtors’ stakeholders fairly. The Plans not

only achieve a reorganization/sale of the Debtors, but they also comport with one of the primary

objectives underlying a chapter 11 bankruptcy—the equitable distribution of value to creditors.

The Plans accomplish these goals through the implementation of various Plans Transactions, all

of which provide the means through which the distributions may be made to stakeholders. The

Plans (including the Plans Supplement and all other documents necessary to implement the

Plans) reflect the culmination of the combined efforts of JD Holdings, the Debtors, the Debtors’

key constituencies, and their respective professionals. The Plans maximize the value of the

Debtor’s Assets (against the backdrop of expensive and time-consuming litigation) and properly

distribute such value to the Debtors’ stakeholders based upon their respective priorities, allowing

the Debtors’ stakeholders to be paid their Allowed Claims in full. Accordingly, the Plans are

fair, reasonable, and consistent with sections 1122, 1123, and 1129 of the Bankruptcy Code.

Based on the foregoing, the facts and record of the Chapter 11 Cases, the Plans have been




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proposed in good faith and not by any means forbidden by law, thereby satisfying section

1129(a)(3) of the Bankruptcy Code.

       J.      Payment for Services or Cost and Expenses (11 U.S.C. § 1129(a)(4)).

Article III.B.1. of the Plans provides that all final requests for payment of Claims of a

Professional shall be Filed no later than forty-five (45) days after the Effective Date for

determination by the Bankruptcy Court, after notice and hearing in accordance with the

procedures established by the Bankruptcy Code and prior order of this Court. Because this Court

will determine the Allowed amounts of such Accrued Professional Compensation Claims, the

Plans fully comply with the requirements of section 1129(a)(4) of the Bankruptcy Code.

       K.      Service of Certain Individuals (11 U.S.C. § 1129(a)(5)). Section 1129(a)(5) of the

Bankruptcy Code requires that (a) the plan proponent disclose the identity and affiliations of the

proposed officers and directors of the reorganized debtors, (b) the appointment or continuance of

such officers and directors be consistent with the interests of creditors and equity security holders

and with public policy, and (c) the disclosure of the identity and compensation of any insiders to

be retained or employed by the reorganized debtors. Pursuant to the Plans, JD Holdings will

purchase the Debtors Assets (including Equity Interests). Accordingly, the requirements of

section 1129(a)(5) of the Bankruptcy Code are not applicable.

       L.      Rate Changes (11 U.S.C. § 1129(a)(6)). The Plans do not provide for any rate

changes over which a governmental regulatory commission has jurisdiction, thereby satisfying

Section 1129(a)(6) of the Bankruptcy Code.

       M.      Best Interest of Creditors (11 U.S.C. § 1129(a)(7)). Each Holder of a Claim or

Equity Interest is Unimpaired and deemed to have accepted the Plans, thereby satisfying section

1129(a)(7) of the Bankruptcy Code.




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       N.      Acceptance by Certain Classes (11 U.S.C. § 1129(a)(8)). Under the Plans, all

classes are Unimpaired and, pursuant to section 1126(f) of the Bankruptcy Code, are

conclusively presumed to have voted to accept the Plans, thereby satisfying the requirements of

section 1129(a)(8) of the Bankruptcy Code.

       O.      Treatment of Administrative Claims, Priority Tax Claims, and Other Priority

Claims (11 U.S.C. § 1129(a)(9)). The treatment of Administrative Claims, Priority Tax Claims,

and Other Priority Claims pursuant to Article III of the Plans satisfies the requirements of

sections 1129(a)(9) of the Bankruptcy Code.

       P.      Acceptance by Impaired Class of Claims (11 U.S.C. § 1129(a)(10)). Under the

Plans, all Classes are Unimpaired, so section 1129(a)(10) of the Bankruptcy Code is not

applicable.

       Q.      Feasibility (11 U.S.C. § 1129(a)(11)). The Plans are feasible, including as a result

of the consummation of the Sale and proceeds made available pursuant to the Sale Financing

Facility Documents as expressly contemplated by the Plans, and the confirmation of the Plans is

not likely to be followed by a liquidation or the need for further financial reorganization of the

Debtors. All Allowed Claims shall be paid in full in accordance with the terms of the Plans.

Moreover, financial projections indicate that sufficient funding and assets exist to pay disputed

Claims that are later determined to be Allowed Claims. In addition, JD Holdings has

demonstrated its ability to provide adequate assurance of future performance regarding the

Assumed Agreements, thereby satisfying the requirements of section 1129(a)(11) of the

Bankruptcy Code.

       R.      Payment of Fees (11 U.S.C. § 1129(a)(12)). Article III.D. of the Plans provides

that (i) on the Effective Date or as soon thereafter as reasonably practicable, JD Holdings will




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pay all U.S. Trustee Fees that are due and owing on the Effective Date and (ii) following the

Effective Date, JD Holdings will pay the U.S. Trustee Fees for each quarter (including any

fraction thereof) until the first to occur of the Chapter 11 Cases being converted, dismissed, or

closed, thereby satisfying the requirements of section 1129(a)(12) of the Bankruptcy Code.

         S.    Continuation of Retiree Benefits (11 U.S.C. § 1129(a)(13)). Article VII.F. of the

Plans provides that, on and after the Effective Date, all retiree benefits (as that term is defined in

section 1114 of the Bankruptcy Code), if any, shall continue to be paid to the extent required by

applicable law, thereby satisfying the requirements of section 1129(a)(13) of the Bankruptcy

Code.

         T.    Domestic Support Obligations (11 U.S.C. § 1129(a)(14)). The Debtors are not

required by a judicial or administrative order, or by statute, to pay a domestic support obligation

and, accordingly, section 1129(a)(14) of the Bankruptcy Code is inapplicable to the Plans.

         U.    Plan of an Individual Debtor (11 U.S.C. § 1129(a)(15)). None of the Debtors is

an individual and, accordingly, section 1129(a)(15) of the Bankruptcy Code is inapplicable to the

Plans.

         V.    Transfers in Accordance with Non-Bankruptcy Law (11 U.S.C. § 1129(a)(16)).

Section 1129(a)(16) of the Bankruptcy Code requires that “[a]ll transfers of property under the

plan shall be made in accordance with any applicable provisions of non-bankruptcy law that

govern the transfer of property by a corporation or trust that is not a moneyed, business, or

commercial corporation or trust.” 11 U.S.C. § 1129(a)(16). This Court has ruled that the JQH

Trust is a business trust. Accordingly, the Plans satisfy the requirements of section 1129(a)(16)

of the Bankruptcy Code.




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       W.      No Unfair Discrimination; Fair and Equitable (11 U.S.C. § 1129(b)). Because the

Plans satisfy all of the requirements of section 1129(a) of the Bankruptcy Code, a determination

regarding whether the Plans are confirmable pursuant to section 1129(b) is not necessary.

       X.      Only One Plan per Debtor (11 U.S.C. § 1129(c)). Notwithstanding the other

chapter 11 plans proposed in the Chapter 11 Cases, the Plans are the only plans confirmed by this

Court in the Chapter 11 Cases and, accordingly, section 1129(c) of the Bankruptcy Code does

not apply to the Plans.

       Y.      Principal Purpose of Plan (11 U.S.C. § 1129(d)). The principal purpose of the

Plans is not the avoidance of taxes or the avoidance of the application of section 5 of the

Securities Act, thereby satisfying the requirements of section 1129(d) of the Bankruptcy Code.

       Z.      Not Small Business Cases (11 U.S.C. § 1129(e)). The Chapter 11 Cases are not

small business cases and, accordingly, section 1129(e) of the Bankruptcy Code is inapplicable to

the Chapter 11 Cases.

       AA.     Satisfaction of Confirmation Requirements. Based upon the foregoing, all other

pleadings, documents, and exhibits Filed in connection with confirmation of the Plans, and all

arguments made, proffered, or adduced at the Confirmation Hearing, the Plans satisfy the

requirements for confirmation set forth in section 1129 of the Bankruptcy Code.




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       ADDITIONAL FINDINGS REGARDING CHAPTER 11 CASES AND PLAN

       BB.     Amendment to the Plans. Article V of the Plans is hereby amended as follows:

“Greggory Groves and/or Jacqueline Dowdy shall designate the charitable organizations to

which each of the Non Hotel Assets assets in the Charitable Trust are distributed.”

       CC.     Lack of Substantive Consolidation. This Court finds that the Debtors have not

been substantively consolidated and that the Plans do not substantively consolidate the Debtors.

       DD.     Implementation. All Plans Documents necessary to implement the Plans,

including, but not limited to, those in the Plans Supplement, are essential elements of the Plans

and have been negotiated in good faith and at arm’s length, and the entry into and consummation

of the transactions contemplated by each such Plans Document is in the best interests of the

Debtors and the Holders of Claims or Equity Interests and shall, upon completion of

documentation and execution, be legal, valid, binding, and enforceable Plans Documents, and

shall not be in conflict with any federal, state, or local law. JD Holdings and the Debtors have

exercised reasonable business judgment in determining which Plans Documents to enter into and

have provided sufficient and adequate notice of such Plans Documents. JD Holdings and the

Debtors are authorized, without any further notice to, or action, order, or approval of, this Court,

to finalize, execute, and deliver, and to perform its obligations under, all Plans Documents

relating to the Sale and other Plans Transactions and the implementation of the Plans, including,

without limitation, the Sale Financing Facility Documents.

       EE.     Transfers by the Debtors. All transfers of property of the Debtors shall be free

and clear of all Liens, Claims, charges, interests, and other encumbrances, in accordance with

applicable law, except as expressly provided in the Plans or this Order.




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       FF.     Exemption from Taxation. The making and delivery of an instrument of transfer

under the Plans is exempt from taxation under any law imposing a recording tax, stamp tax,

conveyance fee, intangibles or similar tax, mortgage tax, real estate transfer tax, sales or use tax,

mortgage recording tax, Uniform Commercial Code filing or recording fee, or other similar tax

or governmental assessment, in accordance with section 1146(a) of the Bankruptcy Code.

       GG.     Sale. The Sale is an essential element of the Plans, and the entry into and

consummation of the transactions contemplated by the Plans Documents that comprise the Sale,

including the Sale Financing Facility Documents, is in the best interest of the Debtors and the

Holders of Claims and Equity Interests. JD Holdings has provided fair value for the Sale

contemplated in the Plans.

       HH.     Consumer Privacy Ombudsman’s Report. Having reviewed the Report of

Consumer Privacy Ombudsman (the “Consumer Privacy Ombudsman’s Report”) [Docket No.

2056] and given due consideration to the facts, circumstances, and conditions of the Sale, this

Court finds that JD Holdings is a Qualified Buyer, as defined in the Consumer Privacy

Ombudsman’s Report, and the Sale is approved subject to the recommendations in the Consumer

Privacy Ombudsman’s Report.



       II.     Injunction, Exculpation, and Releases.

               1.      This Court has jurisdiction under sections 157 and 1334(a) and (b) of

title 28 of the United States Code to approve releases, exculpations, and injunctions.

Section 105(a) of the Bankruptcy Code permits this Court to issue injunctions and approve of the

releases and exculpations set forth in Article VIII of the Plans. For the avoidance of doubt, the

releases and exculpations set forth in the Plan are applicable to the Debtors’ independent




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directors or managers and their respective advisors. Moreover, the Plans provide for payment in

full of the Allowed Claims in these Chapter 11 Cases and as a result, nothing in the Tenth Circuit

prohibits approval of third-party releases.

               2.      Notwithstanding anything in the Plans or this Order to the contrary, UBS

Securities, LLC (“UBS”) is hereby included as a Debtor Released Party solely for purposes of

the release provisions provided for in Paragraph G of Article VIII of the Plans, except that

nothing in this provision shall (i) release UBS from any claims or defenses the Debtors may have

against UBS, (ii) release UBS from any claims or defenses JD Holdings may have against UBS

arising out of or related to UBS’ employment by the Debtors in these cases, or (iii) preclude

JD Holdings from contesting any claims asserted by UBS against the estates.

               3.      Based on the record before this Court, the releases by the Debtors, the

releases by JD Holdings, the releases by third parties (as clarified at the Confirmation Hearing to

exclude AJJ Hotel Holdings, Inc. n/k/a JWJ Hotel Holdings, Inc.), the exculpation provisions,

and the injunction provisions set forth in the Plans (a) confer substantial benefit to the Debtors,

(b) are fair, equitable, and reasonable, (c) are in the best interests of the Debtors, the Holders of

Claims or Equity Interests, and parties in interest, (d) are supported by valuable consideration,

and (e) do not relieve any Person of liability arising out of an act or omission constituting willful

misconduct or fraud.

               4.      Therefore, this Court finds that the releases by the Debtors, the releases by

JD Holdings, the releases by third parties, the exculpation provisions, and the injunction

provisions set forth in the Plans (a) were proposed in good faith, are essential to the Plans, are

appropriately tailored, and are intended to promote finality and prevent parties from attempting




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to circumvent the Plans’ terms and (b) are consistent with the Bankruptcy Code and applicable

law and, therefore, are legal, valid, binding and enforceable.

       JJ.     Retention of Jurisdiction. This Court may properly retain jurisdiction over any

matter arising under the Bankruptcy Code, or arising in, or related to, the Chapter 11 Cases or the

Plans, after the Confirmation and after the Effective Date, and any other matter or proceeding

that is within this Court’s jurisdiction pursuant to 28 U.S.C. § 1334 or 28 U.S.C. § 157.

NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED
THAT:

       1.      Findings of Fact and Conclusions of Law. The findings of fact and conclusions of

law set forth herein or incorporated herein by reference, and the record of the Confirmation

Hearing, constitute this Court’s findings of fact and conclusions of law pursuant to Rule 52 of

the Federal Rules of Civil Procedure, as made applicable herein by Bankruptcy Rules 7052 and

9014. To the extent that any of the prior findings of fact constitute conclusions of law, they are

adopted as conclusions of law. To the extent that any of the following conclusions of law

constitute findings of fact, they are adopted as findings of fact.

       2.      Confirmation. All requirements for the confirmation of the Plans have been

satisfied. Accordingly, the Plans, in their entirety, are CONFIRMED pursuant to section 1129 of

the Bankruptcy Code. Each of the terms and conditions of the Plans and the exhibits and

schedules thereto, including, but not limited to, the Plans Supplement, and any amendments,

modifications, and supplements thereto, and any amendments set forth in this Order, are an

integral part of the Plans and are incorporated by reference into this Order. The failure to

specifically describe or include any particular provision of the Plans in this Order shall not

diminish or impair the effectiveness of such provision, it being the intent of this Court that the

Plans be approved and confirmed in their entirety. The Plans comply with all applicable




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provisions of the Bankruptcy Code, the Bankruptcy Rules, and the Local Rules. Upon execution,

the documents comprising the Plans and all other documents contemplated by the Plans,

including, without limitation, the Plans Documents and the Sale Financing Facility Documents,

shall constitute the legal, valid, binding, and authorized obligations of the respective parties

thereto, enforceable in accordance with their terms and conditions and the terms and conditions

of the Plans and this Order.

          3.   Objections. All parties have had a fair opportunity to litigate all issues raised by

the Objections, or which might have been raised, and the Objections have been fully and fairly

litigated. All Objections, responses, statements, reservation of rights, and comments in

opposition to the Plans, other than those withdrawn with prejudice in their entirety, waived,

settled, or resolved prior to the Confirmation Hearing, or otherwise resolved on the record of the

Confirmation Hearing and/or in this Order, are hereby overruled for the reasons stated on the

record.

          4.   Notice. Notice of the Confirmation Hearing, the Plans, and all Plans Documents

was appropriate and satisfactory based upon the circumstances of the Chapter 11 Cases and was

in compliance with the provisions of the Bankruptcy Code, the Bankruptcy Rules, and the Local

Rules.

          5.   Plan Classification. The categories listed in Article II of the Plans classify all

Claims against, and Equity Interests in, each of the Debtors, if any, for all purposes, including,

but not limited to, Confirmation of the Plans and distributions pursuant to the Plans and sections

1122 and 1123(a)(l) of the Bankruptcy Code. This Court hereby holds that: (a) the

classifications of Claims and Equity Interests under the Plans (i) are fair, reasonable, and

appropriate and (ii) were not done for any improper purpose; (b) valid business, legal, and




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factual reasons exist for separately classifying the various Classes of Claims and Equity Interests

under the Plans; and (c) the creation of such Classes does not unfairly discriminate between or

among Holders of Claims or Equity Interests.

       6.      Compromise of Controversies. Pursuant to sections 363 and 1123 of the

Bankruptcy Code and Bankruptcy Rule 9019, and in consideration for the distributions and other

benefits provided pursuant to the Plans, the provisions of the Plans shall constitute a good faith

compromise of all Claims, Equity Interests, Causes of Action, and controversies and disputes

resolved pursuant to the Plans and relating to any contractual, legal, and subordination rights that

a Holder of a Claim or Equity Interest may have with respect to any Allowed Claim or Equity

Interest, or any distributions to be made on account of such Allowed Claim or Equity Interest.

The entry of this Order shall constitute this Court’s approval of the compromise or settlement of

all such Claims, Equity Interests, Causes of Action, and controversies and disputes, as well as a

finding by this Court that such compromise or settlement is in the best interests of the Debtors

and Holders of Claims or Equity Interests, and is fair, equitable, and reasonable. Any

settlements of objections to the Plans which are conditioned upon the occurrence of the

effectiveness of the Plans, shall become effective contemporaneously or substantially

contemporaneously on the Effective Date, subject to the terms and conditions of such

settlements. Distributions made to Holders of Allowed Claims or Equity Interests are intended

to be final. In accordance with the provisions of the Plans, pursuant to sections 363 and 1123 of

the Bankruptcy Code and Bankruptcy Rule 9019(a), without any further notice to or action,

order, or approval of this Court, or any other Entity, after the Effective Date, JD Holdings may

compromise and settle Claims against, or Equity Interests in, the Debtors, if any, and Causes of

Action against other Entities.




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       7.       Plans Transactions.

                a.     This Order shall be deemed to (i) authorize, among other things, the Sale

and other Plans Transactions, including assumption and assignment of Assumed Agreements,

and the implementation of the Plans, and (ii) require the Debtors and JD Holdings or its

Affiliates to execute the APA and other Plans Documents, and take all other actions, as required

under these Plans or that JD Holdings otherwise determines are necessary or appropriate to

consummate the Sale and other Plans Transactions and implement the Plans. On and after the

Confirmation Date, JD Holdings may take, or require Debtors to take, all actions as may be

necessary or appropriate to effect the Sale and other Plans Transactions and the implementation

of the Plans.

                b.     The APA contemplates a series of closings, starting on the Effective Date

and ending no later than the Outside Closing Date. Notwithstanding the foregoing, if JD

Holdings is unable to obtain a required consent for certain Assets, a waiver of a third-party

termination right that would be triggered by the sale of certain Assets, or consent for the

assumption of the Assumed Loans, by such Outside Closing Date (the “Delayed Assets”), but all

Allowed Claims existing as of the Outside Closing Date have been paid by the Outside Closing

Date (except only as set forth in section 7.1(c) of the APA), the Debtors shall retain such

Delayed Assets free and clear of all Liens and Claims until such time that such Delayed Assets

are transferrable to JD Holdings, all as set forth in more detail in section 7.1(c) of the APA. In

such case, all economic benefits and interests from such Delayed Assets shall inure to the benefit

of JD Holdings pending such closing on the Delayed Assets and the Debtors and JD Holdings

shall execute such agreements as are necessary to effect and evidence that such benefits inure to

the benefit of JD Holdings.




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                 c.       JD Holdings shall deposit $50 million into escrow (the “Deposit”) within

three Business Days after this Order becomes a Final Order. If the Effective Date does not occur

by the Outside Effective Date, and such failure is not due to a failure of a closing condition in the

APA or other Plans Documents, a breach by the Debtors of their obligations under the APA,

Plans, the PSA or the Settlement Agreement, a termination by JD Holdings in accordance with

the APA, or an appeal of this Order, all as set forth in more detail in section 6.1(a) of the APA,

then the Deposit shall be forfeited to the Debtors as their sole and exclusive remedy for such

failure. 3

                 d.       Upon the occurrence of the Effective Date, JD Holdings shall pay the JQH

Trust sufficient funds to wrap up the administration and operations of the JQH Trust and the state

court probate estate up to $615,000, and subject to the terms, conditions and limitations set forth

in the Plans and section 3(a) of the Settlement Agreement.

         8.      Requirement to Follow Recommendations of Consumer Privacy

Ombudsman. JD Holdings shall follow the recommendations in the Consumer Privacy

Ombudsman’s Report.

         9.      Section 1146 Exemption. Pursuant to section 1146(a) of the Bankruptcy Code,

any transfer from a Debtor to JD Holdings pursuant to, in contemplation of, or in connection

with the Plans, or pursuant to (a) the issuance, distribution, transfer, or exchange of any debt,

equity security, or other interest in the Debtors, (b) the creation, modification, consolidation, or

recording of any mortgage, deed of trust, or other security interest, or the securing of additional

indebtedness by such or other means, (c) the making, assignment, or recording of any lease or

sublease, or (d) the making, delivery, or recording of any deed or other instrument of transfer



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         In addition, the allowance of JD Holdings’ Claims may be reversed as set forth in the PSA.




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under, in furtherance of, or in connection with, the Plan, including, but not limited to, any deed,

bill of sale, assignment, or other instrument of transfer executed in connection with the Sale or

other Plans Transaction, shall not be subject to any recording tax, stamp tax, conveyance fee,

intangibles, or similar tax, mortgage tax, real estate transfer tax, sales or use tax, mortgage

recording tax, Uniform Commercial Code filing or recording fee, or other similar tax or

governmental assessment, and the appropriate state or local governmental officials or agents

shall forego the collection of any such tax or governmental assessment and accept for filing and

recordation any of the foregoing instruments or other documents without the payment of any

such tax or governmental assessment.

       10.     Vesting of Assets in JD Holdings.

               a.      Except as otherwise provided in the Plans, this Order, or any Plans

Documents, on the Effective Date, notwithstanding any prohibition of assignability under

applicable non-bankruptcy law and in accordance with section 1141 of the Bankruptcy Code, all

of Debtors’ Assets and Causes of Action shall vest in JD Holdings, free and clear of all Liens,

Claims, charges, or other encumbrances (except for those Assets (i) contributed to the new

Charitable Trust or left behind temporarily, as indicated in the Plans Supplement or APA, or (ii)

which will be subject to the security interests of the Sale Lender as provided for in the Sale

Financing Facility Documents) without further notice to, or action, order, or approval of, this

Court or any other Entity.

               b.      On and after the Effective Date, except as otherwise provided in the Plans

or this Order, JD Holdings may use, acquire, or dispose of property and compromise or settle any

Claims, Equity Interests, or Causes of Action without further notice to, or action, order, or




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approval of, this Court, or any other Entity, and free of any restrictions of the Bankruptcy Code

or Bankruptcy Rules.

       11.     Preservation, Transfer, and Waiver of Rights of Action. In accordance with

section 1123(b) of the Bankruptcy Code, but subject to Article VIII of the Plans, JD Holdings

may enforce all rights to commence and pursue, as appropriate, any and all Causes of Action,

whether arising before or after the Petition Date, including, but not limited to, any Causes of

Action that may be described in the Plans Supplement. No Entity may rely on the absence of a

specific reference in the Plans, the Plans Supplement, or the Disclosure Statement to any Cause

of Action against them as any indication that JD Holdings shall not pursue any and all available

Causes of Action against them. JD Holdings expressly reserves all rights to prosecute any and

all Causes of Action against any Entity, except as otherwise expressly provided in the Plans or

this Order. Unless any Causes of Action against an Entity are expressly waived, relinquished,

exculpated, released, compromised, or settled in the Plans or a Court order, the Debtors expressly

reserve all Causes of Action for later adjudication and, therefore, no preclusion doctrine,

including, but not limited to, the doctrines of res judicata, collateral estoppel, issue preclusion,

claim preclusion, estoppel (judicial, equitable, or otherwise), or laches, shall apply to such

Causes of Action upon, after, or as a consequence of the confirmation or consummation of the

Plans. In accordance with section 1123(b)(3) of the Bankruptcy Code, any Causes of Action that

a Debtor may hold against any Entity shall vest in JD Holdings.

       12.     Sale Financing Facility

               a.      The Debtors and their Affiliates and JD Holdings and its Affiliates, each

as applicable, shall execute and deliver to the Sale Lender all such promissory notes, mortgages,

deeds of trust, agreements, financing statements, instruments, notices, and other documents the




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Sale Lender may reasonably request to release any existing claim or liens on the Debtors’ Assets

that is subject to the Sale Financing Facility and to more fully evidence, confirm, validate,

perfect, preserve and enforce the liens and the security interests of the Sale Lender in such Assets

arising under or related to the Sale Financing Facility. All such documents and instruments

(other than any such documents and instruments required or permitted by the terms of the

applicable Sale Financing Facility Documents to be delivered, recorded or filed after the

Effective Date) will be deemed to have been recorded and filed as of the Effective Date. The

liens against such Assets shall be valid, binding, perfected and enforceable liens and security

interests described in the Sale Financing Facility Documents, and the granting of such liens, and

the making of such loans and other extensions of credit to JD Holdings by the Sale Lender, in its

capacity as such, shall not be subject to avoidance, recharacterization, recovery, subordination,

attack, offset, counterclaim, defense or “claim” (as such term is defined in the Bankruptcy Code)

of any kind under the Bankruptcy Code or any applicable laws as of the Effective Date and shall

not subject the Sale Lender to any liability by reason of incurrence of such obligation or grant of

such liens, guarantees or security interests under any applicable law, including, but not limited

to, successor or transferee liability.

                b.      The guarantees, mortgages, pledges, liens and other security interests, and

all other consideration granted pursuant to or in connection with the Sale or other Plans

Transactions, including to the Sale Lender, are or will be (as the case may be) hereby deemed to

be granted in good faith, for good and valuable consideration and for legitimate business

purposes as an inducement to the Sale Lender to extend credit thereunder and shall be, and

hereby are, deemed not to constitute a fraudulent conveyance or fraudulent transfer under the

Bankruptcy Code or any applicable laws and shall not otherwise be subject to avoidance,




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subordination or recharacterization and shall not subject the Sale Lender to any liability by

reason of the incurrence of such obligation or grant of such liens, guarantees or security interests

under any applicable law, including, but not limited to, successor or transferee liability. To

consummate the Sale and other Plans Transactions and implement the Plans, all Holders of

Claims and Equity Interests shall, and hereby are authorized and directed to, promptly cooperate

in all respects with the Debtors JD Holdings and the Sale Lender to execute and deliver all

instruments, notices, agreements, pay-off letters and other documents reasonably necessary to

effectuate and document the satisfaction and release of any and all liens and/or security interests

of such Holders in the Debtors Assets, which documents shall be deemed to have been recorded

and filed as of the Effective Date or, to the extent a Plans Transaction does not close on the

Effective Date, the closing date of such Plans Transaction.

       13.     Employee and Retiree Benefits.

               a.      With respect to the approximately 4,000 employees (the “Employees”)

employed by Debtors and Non-Debtor JQH Entities (“Existing Employer”), upon consummation

of the Sale and Other Plans Transactions, JD Holdings or its Affiliates (“New Employer”) will

offer employment to substantially all of the Employees of Debtors and JQH Accounting (subject

to standard background and compliance checks), but in any event a sufficient number of

Employees that will not trigger the application of the Worker Adjustment and Retraining

Notification Act (or similar local or state laws or regulations) (the “WARN Act”). New

Employer will (a) pay salaries or wages to the Employees who accept such offer of employment

(the “Rehired Employees”) at no less than ninety percent (90%) of the salary or wages of such

Rehired Employees existing as of the rehiring date, and (b) recognize the Rehired Employee’s




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prior years of employment with Existing Employer (including any prior employment with

Winegardner & Hammons, Inc. and any predecessor-in-interest to the Debtors).

               b.      New Employer shall be responsible for all claims and liabilities with

respect to (1) application of the WARN Act, (2) salaries, wages, bonuses, profit sharing and

other compensation, vacation and sick leave, worker’s compensation, employer’s contribution

under F.I.C.A., unemployment compensation, welfare benefits, deferred compensation, savings,

pension, 401(k) and retirement plan and insurance and other benefits of whatever kind which

becomes payable to any Employee, and (3) any alleged or actual unfair labor practices,

employment discrimination charges and lawsuits, and other similar claims of any Employees

regarding employment matters arising out of or alleged acts or omissions of Existing Manager.

               c.      New Employer shall defend, indemnify and hold harmless the Trustees

Released Parties from and against all loss, cost, express liabilities, causes of action and claims

with respect to the application of the WARN Act.

               d.      With respect to the Employees identified in Exhibit A to the Settlement

Agreement (the “Designated Employees”) who are terminated or resign within 180 days after

consummation of the Sale or other Plans Transactions, each Designated Employee shall

promptly receive from Existing Employer a lump sum severance payment in the amounts set

forth in Exhibit A to the Settlement Agreement upon such termination or resignation.

               e.      With respect to the Employees at JQH Management’s offices in

Springfield, Missouri, or its regional offices, or at JQH Accounting Services, LLC, but who are

not specifically identified in Exhibit A to the Settlement Agreement (the “Non-Designated

Employees”) and who are terminated without cause within 180 days after consummation of the

Sale or other Plans Transaction, each Non-Designated Employee shall promptly receive from




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Existing Employer a lump sum severance payment equal to one week of salary for every full

year of employment by such Non-Employee with any Debtors or Non-Debtor JQH Entities

(including any prior employment with Winegardner & Hammons, Inc. or a predecessor-in-

interest of the Debtors) up to twenty (20) years of employment. 4

               f.      JD Holdings (or its Affiliate) shall provide access to COBRA health

insurance coverage to all Employees (both Designated Employees and Non-Designated

Employees) who are terminated or resign upon consummation of the Sale or other Plans

Transaction.

               g.      Prior to the Effective Date, each of Ms. Dowdy and Mr. Groves shall

continue to perform their regular duties and the duties set forth in the Plans, the Settlement

Agreement, and the PSA and receive their regular compensations and benefits provided to them

by Existing Employer. Except as otherwise set forth in the Plans Supplement (or other

agreement), from and after the Effective Date Ms. Dowdy and Mr. Groves: (a) shall resign from

their positions with JQH Management and each and every position they hold with any of the

other Debtors (with the exception of their role as successor trustees of the JQH Trust) and

(b) shall receive no further compensation from the Debtors in connection with their resignations

from such management positions, provided however, that promptly upon their respective

resignations from JQH Management, unless otherwise agreed to between the Debtors and JD

Holdings and as set forth in the Plans Supplement, the Existing Employer or JD Holdings (or its

Affiliate) shall pay in a lump sum the severance payable to Ms. Dowdy and Mr. Groves as set

forth on Exhibit A to the Settlement Agreement. Notwithstanding the foregoing, as set forth in



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       If a Non-Designated Employee is offered employment in a location more than 50 miles from his or her
       current place of employment, the Non-Designated Employee may reject such offer of employment without
       waiving his or her right to severance under Article VII.F of the Plans.




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the Plans Supplements, Mr. Groves and JD Holdings have entered into an agreement pursuant to

which Mr. Groves will have continuing duties after the Effective Date for which he will be paid

by JD Holdings.

               h.      With respect to all payments to be made by Existing Employer under

Article VII.F. of the plans, JD Holdings (or its Affiliate) shall cause Existing Employer to have

sufficient Cash to make such payments.

       14.     Executory Contracts and Unexpired Leases.

               a.      JD Holdings shall have until the Effective Date to identify the Rejected

Executory Contracts and Unexpired Leases. Any Executory Contracts and Unexpired Leases

that are not identified as Rejected Executory Contracts and Unexpired Leases shall constitute

Assumed Agreements, and be assumed by the applicable Debtor and assigned to JD Holdings or

its Affiliates as of the Effective Date, unless set forth otherwise in the Plans or this Order. The

Assumed Agreements to be assumed by the applicable Debtor and assigned to JD Holdings or its

Affiliates shall be deemed assigned to JD Holdings or its Affiliates pursuant to section 365(f) of

the Bankruptcy Code as of the Effective Date of the Plans, provided however, that in some

instances, the assignment of the Assumed Agreement will be delayed, with the actual assignment

occurring sometime after the Effective Date, and this Order authorizes such delayed assignment.

This Court specifically holds that (i) the assumption and assignment of the Assumed Agreements

need not occur simultaneously, (ii) pursuant to section 365(f) of the Bankruptcy Code, the

assignment may occur after the entry of this Order and after the Effective Date, if necessary, (iii)

the effective date of assignment for such delayed Assumed Agreements shall be the actual date

of the assignment, and (iv) upon assignment, pursuant to section 365(k) of the Bankruptcy Code,

the Debtors, including the JQH Trust, shall have no further liability under such Assumed




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Agreements, and upon assignment the counterparty to such Assumed Agreements is enjoined

from seeking to enforce any rights or remedies under the Assumed Agreements from the

Debtors, including the JQH Trust. The non-Debtor counterparty to the Assumed Agreement is

entitled to the Cure Costs of any default under such Assumed Agreement and to adequate

assurance of future performance under such Assumed Agreement.

               b.      Non-Debtor parties to the Assumed Agreements shall File, within twenty

(20) days following the Effective Date, a proposed amount of the Cure Costs, and the assumption

and assignment of such Assumed Agreement may be conditioned upon the disposition of all

issues with respect to such Cure Costs.

               c.     All Rejected Executory Contracts and Unexpired Leases shall be deemed

rejected on the Effective Date, except for those Executory Contracts and Unexpired Leases that

have been assumed or rejected pursuant to an order of the Bankruptcy Court entered prior to the

Effective Date.

               d.     Non-Debtor parties to Rejected Executory Contracts and Unexpired

Leases shall have the right to assert a Claim on account of the rejection of such Rejected

Executory Contracts and Unexpired Leases, including under section 502(g) of the Bankruptcy

Code, which shall be Filed within twenty (20) days after the Effective Date.

               e.     With regard to Holiday Inn:

                     i.       JD Holdings (or an affiliate acceptable to HHF) shall assume the

Holiday Inn Express Hotel New Development License Agreement dated September 30, 2003 (as

same may have been amended), which authorizes the licensee to operate a Holiday Inn Express®

& Suites hotel located at 1117 E. St. Louis, Springfield, MO 65806, provided, however, that such

assumption shall be in compliance with HHF’s requirements and procedures in HHF’s sole and




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absolute discretion, including payment of all fees and costs including attorney’s fees incurred by

HHF during the pendency of the Chapter 11 Cases.

                     ii.       Notwithstanding anything to the contrary in this Order or in the

Plans, nothing herein shall affect any of the terms, conditions, rights or requirements of that

certain (i) Holiday Inn® Hotel Relicensing License Agreement dated April 5, 2016 (as same may

have been amended) between Holiday Hospitality Franchising, LLC (“HHF”), as licensor, and

W&H Realty, Inc. (“WHR”), as licensee; and (ii) Holiday Inn® Hotel Relicensing Agreement

dated June 3, 2011 (as same may have been amended) between HHF, as licensor, and Airport

Exchange Hotel Partners, as licensee, all of which terms, conditions, rights and requirements

remain unchanged and unaffected by this Order and Plans.

               f.       With regard to Oracle:

                      i.       Notwithstanding anything to the contrary in the Plans, this Order,

or the Asset Purchase Agreement, without the prior written consent of Oracle America, Inc.,

successor in interest to MICROS Systems, Inc. (“Oracle”), the Debtors shall not assume and/or

assign to JD Holdings, LLC or its assignee (collectively, “Assignee”), any contract between the

Debtors and Oracle unless (1) the appropriate Cure Costs are paid, which amount shall be

stipulated to by Oracle and JDH or determined by further Court order; and (2) the execution by

the Debtors and Assignee of mutually agreeable assignment documentation in a final form to be

negotiated after entry of this Order.

       15.     Approved Settlement Agreements. The settlement agreements previously filed

with the Court and announced in Court shall be filed separately as attachments to this Order and

are hereby approved pursuant to their terms.

       16.     New Charitable Trust.




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               a.        JD Holdings shall establish the Charitable Trust set forth in Article V of

the Plan, as clarified and supplemented in the Plans Supplement, as “The John Q. Hammons

Charitable Trust”, and shall transfer the amount of $2 million in Cash to the Charitable Trust as

of the Effective Date.

               b.        Subject to the satisfaction of the conditions set forth in the Plans and

Exhibit C of the Plans Supplement or as soon as practicable thereafter, the Missouri Sports Hall

of Fame (the “Hall of Fame”) shall be transferred by the JQH Trust to the Charitable Trust, or

upon the direction of Jacqueline Dowdy and Greggory Groves, directly to the Missouri Sports

Hall of Fame, a Missouri not-for-profit corporation. The Bankruptcy Court shall retain

jurisdiction to resolve disputes and issues related to the Charitable Trust and further, to the extent

set forth in the Plans Supplement, such disputes may be resolved by the Hon. Dale Somers, in his

continuing role as mediator of disputes and issues by and between the Debtors and JD Holdings.

               c.        JD Holdings has designated Debtors right, title and interest in Hammons

Field, a minor league baseball stadium located in Springfield, Missouri, as described more fully

in Exhibit C of the Plans Supplement (the “Stadium”) as an asset to transfer to the Charitable

Trust under the Plans. Subject to the satisfaction of the conditions set forth in the Plans and

Exhibit C of the Plans Supplement or as soon as practicable thereafter, pursuant to section 365 of

the Bankruptcy Code, the JQH Trust shall assume the lease for the Stadium, development

agreement, and other agreements, related to the development, ownership, and operation of the

Stadium, as well as the lease for the Stadium between the JQH Trust to the Springfield Cardinals,

LLC (or its successor or assignee), and the license agreement for the use of the Stadium between

the JQH Trust and Missouri State University, as those agreements may have been amended or

restated from time to time, and any related agreements thereto. Upon the occurrence of the




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conditions set forth in Exhibit C of the Plans Supplement, or as soon thereafter as is practicable,

such leases and agreements shall be assigned by the JQH Trust to the Charitable Trust, and in

doing so, the JQH Trust shall assign to the Charitable Trust the development agreement and its

rights thereunder including the option to purchase the land for the Stadium. The Charitable Trust

shall immediately exercise the option to purchase such land, title to or, if applicable, leasehold

interest in such land shall be immediately transferred to the Charitable Trust, and all parties to

the relevant agreements and leases are hereby directed to promptly execute such deeds, leases,

and other documents necessary to effect such transfer. Upon the transfer to the Charitable Trust

of this asset, the sale of such asset shall be governed by Exhibits C and D to the Plans

Supplement. In conjunction with the assignment of the foregoing agreements to the Charitable

Trust, the Charitable Trust shall execute the promissory note in favor of JD Holdings as set forth

in the Plans Supplement, and a mortgage or deed of trust to JD Holdings to secure such

promissory note, and JD Holdings shall execute the Parking Agreement as defined and set forth

in the Plans Supplement.

       17.     Disputed Claims and Disputed Equity Interests. The provisions of Article X of

the Plans, including, but not limited to, the provisions governing procedures for resolving

disputed Claims and disputed Equity Interests, are found to be fair and reasonable and are

approved; provided, however, that upon the Effective Date, JD Holdings shall deposit cash equal

to the lesser of $25 million or the total disputed amount of all Disputed Claims in a segregated

account, with such disputed amounts to be disbursed only upon further order of this Court. Such

disputed funds account shall be, and shall be held by an entity that is, subject to the jurisdiction

of this Court. Upon the Effective Date, JD Holdings shall promptly provide notice to the holders

of all Disputed Claims of the Disputed Claim reserve that they propose to hold pursuant to this




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paragraph pending resolution of claims objection. This Court shall retain jurisdiction to

adjudicate any disputes between JD Holdings and the holder of any Disputed Claim regarding

the appropriate amount of Disputed Claim reserve and shall have the jurisdiction to order that

such Disputed Claim reserve be increased or decreased as the Court may determine. The Court

may, either sua sponte or upon request of a party in interest, review the appropriate amount of

the Disputed Claim reserve.

       18.     Amendment of Claims. To the extent that any creditors are entitled to amend

their Claims, JD Holdings shall have 30 days from the date the amended Claim was Filed to

object to the amended Claim.

       19.     Full and Final Satisfaction of Claims. Except as otherwise provided by the Plans

or this Order, all payments and all distributions made by JD Holdings under, and in accordance

with, the Plans shall be in full and final satisfaction, settlement, and release of all Claims and

Equity Interests.

       20.     Discharge of Claims and Termination of Interests. Upon the Effective Date and

in consideration of the distributions to be made under the Plans, except as otherwise expressly

provided under the Plans or this Order, each Holder (as well as any trustees, agents or

representatives of each Holder) of a Claim or Equity Interest and any Affiliate of such Holder

shall be deemed to have forever waived, released, and discharged the Debtor, to the fullest extent

permitted by section 1141 of the Bankruptcy Code, of and from any and all Claims, Equity

Interests, rights, and liabilities that arose prior to the Effective Date. Upon the Effective Date, all

such Entities or Persons shall be forever precluded and enjoined, pursuant to section 524 of the

Bankruptcy Code, from prosecuting or asserting any such discharged Claim against or

transferred Equity Interest, if any, in the Debtor JD Holdings, or any of their assets or property,




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whether or not such Holder has Filed a proof of Claim and whether or not the facts or legal bases

therefor were known or existed prior to the Effective Date.

       21.     Release and Exculpation Provisions. All injunctions, releases, and exculpation

provisions set forth in the Plans, including but not limited to those contained in Articles VII.C.,

VII.D., VII.F., and VII.G. of the Plans which shall include the release and exculpation of the

independent directors or managers and their advisors, are approved and shall be effective and

binding on all Entities or Persons, to the extent provided therein, and as if fully set forth herein.

       22.     Injunction.

               a.      Except as otherwise expressly provided in the Plans or this Order, all

Entities or Persons who have held, hold, or may hold Claims or Equity Interests that have been

released pursuant to the Plans or this Order, discharged pursuant to the Plans and this Order, or

are subject to exculpation pursuant to the Plans or this Order are permanently enjoined, from and

after the Effective Date, from taking any of the following actions against the Debtors,

JD Holdings, or the Sale Lender, in its capacity as such: (i) commencing or continuing in any

manner any action or other proceeding of any kind on account of, in connection with, or with

respect to any such Claims or Equity Interests; (ii) enforcing, attaching, collecting, or recovering

by any manner or means any judgment, award, decree, or order against such Entities or Persons

on account of, in connection with, or with respect to any such Claims or Equity Interests;

(iii) creating, perfecting, or enforcing any encumbrance of any kind against such Entities or

Persons or the property or estates of such Entities or Persons on account of, in connection with,

or with respect to any such Claims or Equity Interests; (iv) asserting any right of setoff,

subrogation, or recoupment of any kind against any obligation due from such Entities or Persons

or against the property or estates of such Entities or Persons on account of, in connection with, or




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with respect to any such Claims or Equity Interests unless such Entity or Person has Filed a

motion requesting the right to perform such setoff on or before the Confirmation Date, and

notwithstanding any indication in any Proof of Claim or proof of Equity Interest or otherwise

that such Entity or Person asserts, has, or intends to preserve any right of setoff pursuant to

section 553 of the Bankruptcy Code or otherwise; and (v) commencing or continuing in any

manner any action or other proceeding of any kind on account of, in connection with, or with

respect to any such Claims or Equity Interests released or settled pursuant to the Plans. Nothing

in the Plans or this Order shall preclude any Entity or Person from pursuing an action against one

or more of the Debtors in a nominal capacity to recover insurance proceeds so long as the

Debtors, as applicable, and any such Entity or Person agrees in writing that such Entity or Person

shall (i) waive all Claims against the Debtors, and the estates related to such action and

(ii) enforce any judgment on account of such Claim solely against applicable insurance proceeds,

if any.

               b.      No Holder of any Claim or Equity Interest, and none of any such Holder’s

Affiliates, or any of their respective current or former trustees, beneficiaries, shareholders,

directors, members, partners, managers, officers, employees, agents, representatives, attorneys,

beneficiaries, and/or guardians, or the heirs, executors, administrators, successors or assigns of

any of the foregoing (collectively, the “Representatives”) shall take, or cause to be taken, and

each such Holder and each of its Representatives is hereby permanently enjoined from taking,

any action that is intended or is reasonably likely to directly or indirectly prevent, impede,

hinder, adversely affect, and/or delay any actions or efforts of the Debtors, as applicable, and/or

their ability to: (i) consummate the Sale and the other Plans Transactions and implement the

Plans including, without limitation, the Sale Financing Facility Documents; (ii) obtain any




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consents and/or approvals, achieve the expiration or termination of any waiting period, and/or

take any actions necessary or appropriate to consummate the Sale and the Plans Transactions

contemplated by the Plans and this Order including, without limitation, and Sale Financing

Facility Documents; or (iii) undertake any acts related to, or in furtherance of, the matters

described in clauses (i) and/or (ii) in this paragraph.

        23.     Modification of Plans. Except as otherwise specifically provided in the Plans or

this Order, JD Holdings has the right to alter, amend, modify, or supplement the Plans with

respect to any Debtor in any respect, one or more times, after Confirmation, and, to the extent

necessary or appropriate, may initiate proceedings in this Court to so alter, amend, modify, or

supplement the Plans, or remedy any defect or omission, or reconcile any inconsistencies in the

Plans, the Disclosure Statement, or this Order, in such matters as may be necessary or

appropriate to effect the purposes and intent of the Plans, provided that any such alternation,

amendment, modification, or supplement shall not be inconsistent with the terms and conditions

of the PSA and Settlement Agreement.

        24.     Reversal, Modification, or Vacatur of Order. If any or all of the provisions of this

Order are hereafter reversed, modified, or vacated by subsequent order of this Court or any other

court of competent jurisdiction, such reversal, modification, or vacatur shall not affect the

validity or the enforceability of (i) any act, obligations, indebtedness, liability, priority, or Lien

incurred or undertaken by the Debtors or JD Holdings, as applicable, under or in connection with

the Plans (including, but not limited to, pursuant to any other order of this Court) prior to the date

that the Debtors or JD Holdings received actual written notice of the effective date of any such

reversal, modification, or vacatur or (ii) any provisions of this Order that are not expressly

reversed, modified, or vacated by such subsequent order of this Court or any other court of




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competent jurisdiction. Notwithstanding any such reversal, modification, or vacatur of this

Order, any such act or obligation incurred or undertaken pursuant to, and in reliance on, this

Order prior to the effective date of such reversal, modification, or vacatur shall be governed in all

respects by the provisions of this Order, the Plans, and any alternations, amendments,

modifications or supplements thereto.

        25.     Retention of Jurisdiction. The Bankruptcy Court may properly, and upon the

Effective Date shall, retain any jurisdiction it has to the maximum extent possible over all

matters arising in, arising under, and related to, the Chapter 11 Cases, including the matters set

forth in Article XII of the Plans and section 1142 of the Bankruptcy Code.

        26.     Successors and Assigns. Except as expressly set forth in the Plans, the rights,

benefits, and obligations of any Entity or Person named or referred to in the Plans shall be

binding on, and shall inure to the benefit of, (i) any heir, devisee, donee, executor, administrator,

guardian of any such Person, and (ii) any Affiliate of such Entity, and each of the foregoing

Entities’ respective shareholders, members, partners, directors, principals, managers, officers,

trustees, beneficiaries, employees, attorneys, financial advisors, accountants, investment bankers,

investment advisors, actuaries, professionals, consultants, agents, and representatives, and (iii)

the predecessors, successors and assigns of each of the foregoing Persons and Entities in clauses

(i) and (ii).

        27.     Further Assurances. The Holders of Claims or Equity Interests receiving

distributions under the Plans and all other parties in interest shall, from time to time, prepare,

execute, and deliver any agreements or documents and take any other actions as may be

necessary or advisable to effectuate the provisions and intent of the Plans or as may be necessary

to effectuate the Sale and/or the Sale Financing Facility Documents.




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       28.     Service of Documents. Any pleading, notice, or other document required by the

Plans to be served shall be served pursuant to the terms of Section XIII.D. of the Plans.

       29.     Effectiveness of All Actions. Except as set forth in the Plans or this Order, all

actions authorized to be taken pursuant to the Plans shall be effective on, prior to, or after the

Effective Date pursuant to this Order, as applicable, without further notice to, or action, order, or

approval of, this Court or further action by the Debtors or JD Holdings or their Affiliates, or their

respective Representatives and with the effect that such actions had been taken by unanimous

action of such Representatives.

       30.     Notice of Confirmation Order and Effective Date; Substantial Consummation of

Plan. Per JD Holdings’ agreement with the Office of the United States Trustee, JD Holdings

shall provide simple notice of the entry of this Order to all parties in interest, directing them to

the website and docket where this Order and all past and future pleadings may be found, as well

as advising all parties in interest that there will not be any further notices sent by regular mail.

Notwithstanding Bankruptcy Rules 2002(f)(7) and 3020(c), such notice, along with the

electronic distribution via CM/ECF of this Order that will occur automatically upon this Court’s

entry of this Order, shall constitute good and sufficient notice of the entry of this Order. On the

Effective Date, or as soon thereafter as is reasonably practicable, JD Holdings shall file with this

Court a “Notice of Effective Date,” and the electronic distribution via CM/ECF of this notice that

will occur automatically upon its Filing shall constitute appropriate and adequate notice that the

Plans have become effective. Upon the Effective Date, the Plans shall be deemed substantially

consummated as to each Debtor entity, consistent with the definition of “substantial

consummation” as defined in section 1101(2) of the Bankruptcy Code.




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        31.     Transactions on Business Days. If the date on which a transaction, notice or other

action to be taken, or period is to expire, is to occur under the Plans is not a Business Day, then

such transaction, notice or other action or expiration shall instead occur on the next succeeding

Business Day.

        32.     Filing of Additional Documents. On or before the Effective Date, JD Holdings

may file with this Court such agreements and other documents as may be necessary or

appropriate to effectuate and further evidence the terms and conditions of the Plans.

        33.     Administrative Claims.

                a.      Except to the extent the Holder of an Allowed Administrative Claim

agrees to an alternative treatment, each Holder of an Allowed Administrative Claim (other than

of a Professional Compensation Claim) shall receive in full and final satisfaction, settlement,

release, and discharge of, and in exchange for, each Allowed Administrative Claim, Cash in an

amount equal to the unpaid amount of such Allowed Administrative Claim on the date, or as

soon thereafter as is reasonably practicable, that is the later of (i) the Effective Date or (ii) the

date such Administrative Claim becomes an Allowed Claim or otherwise becomes payable under

the Plans.

                b.      Except for Professional Compensation Claims and U.S. Trustee Fees, and

unless previously Filed, requests for payment of Administrative Claims must be Filed and served

on JD Holdings and other parties in interest no later than the Administrative Claims Bar Date

pursuant to the procedures specified in this Order and the notice of the occurrence of the

Effective Date. Objections to such requests may be Filed by JD Holdings or any party in interest

and must be Filed and served by the Administrative Claims Bar Date. After notice and a hearing

in accordance with the procedures established by the Bankruptcy Code and prior Bankruptcy




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Court orders, the Allowed amounts, if any, of Administrative Claims shall be determined by, and

satisfied in accordance with an order of, the Bankruptcy Court.

               c.      Holders of Administrative Claims that are required to File and serve a

request for payment of such Administrative Claims that do not File and serve such a request by

the Administrative Claims Bar Date shall be forever barred, estopped, and enjoined from

asserting such Administrative Claims against the Debtors, JD Holdings or its Affiliates, or any of

their respective property, and such Administrative Claims shall be deemed discharged as of the

Effective Date without the need for any objection from the Debtors or JD Holdings or any action

by the Bankruptcy Court.

       34.     Final Fee Applications.

               a.      Notwithstanding anything herein or in any prior order of this Court to the

contrary, all final requests for payment of Claims of a Professional shall be Filed no later than

forty-five (45) days after the Effective Date. After notice and a hearing in accordance with the

procedures established by the Bankruptcy Code and prior Court orders, the Allowed amounts of

such Accrued Professional Compensation Claims shall be determined by this Court and satisfied

in accordance with an order of this Court.

       35.     Priority Tax Claims. Except to the extent the Holder of an Allowed Priority Tax

Claim agrees to an alternative treatment, each Holder of an Allowed Priority Tax Claim due and

payable on or prior to the Effective Date shall receive in full and final satisfaction, settlement,

release, and discharge of, and in exchange for, each Allowed Priority Tax Claim, Cash in an

amount equal to such Allowed Priority Tax Claim on the date, or as soon thereafter as is

reasonably practicable, that is the later of (i) the Effective Date or (ii) the date such Priority Tax

Claim becomes an Allowed Claim or otherwise becomes payable under the Plans.




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       36.     U.S. Trustee Fees. On the Effective Date or as soon thereafter as reasonably

practicable, JD Holdings shall pay all U.S. Trustee Fees that are due and owing on the Effective

Date. Following the Effective Date, JD Holdings shall pay the U.S. Trustee Fees for each

quarter (including any part thereof) until the first to occur of the Chapter 11 Cases being

converted, dismissed, or closed.

       37.     Term of Injunctions or Stays. Unless otherwise provided in this Order or in the

Plans, all injunctions or stays in effect in the Chapter 11 Cases pursuant to sections 105 or 362 of

the Bankruptcy Code or any order of this Court, and existing on the Confirmation Date

(excluding any injunctions or stays provided in the Plans or this Order), shall remain in full force

and effect until the Effective Date. All injunctions or stays provided in the Plans or this Order

shall remain in full force and effect in accordance with their terms.

       38.     Plans Supplement. All materials included in the Plans Supplement (as amended

and as may be further amended in accordance with the terms of the Plans or this Order) are

integral to, part of, and incorporated by reference into the Plans. The Plans Supplement (as

amended and may be further amended in accordance with the terms of the Plans or this Order)

and all related documents are hereby approved.

       39.     No Substantive Consolidation. Nothing in the Plans or this Order shall be

interpreted as effecting a substantive consolidation of the Debtors or their estates.

       40.     Entire Agreement. Except as otherwise indicated, the Plans and the Plans

Supplement supersede all previous and contemporaneous negotiations, promises, covenants,

agreements, understandings, and representations on such subjects, all of which have become

merged and integrated into the Plans.




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       41.     Headings. The headings in this Order are used for the convenience of the parties

and shall not alter or affect the meaning of the text of this Order.

       42.     References to Plan Provisions. The failure to specifically include or refer to any

particular article, section, or provision of the Plans, the Plans Documents, the Sale Financing

Facility Documents, or this Order shall not diminish or impair the effectiveness of such article,

section, or provision, it being the intent of this Court that the Plans be confirmed and any related

Plan Documents be approved in their entirety.

       43.     Non-Severability. This Order constitutes a judicial determination that each term

and provision of the Plans, as it may have been altered or interpreted in accordance with the

foregoing, is (1) legal, valid, binding and enforceable pursuant to its terms, (2) integral to the

Plans and may not be deleted or modified without the prior written consent of JD Holdings, and

(3) non-severable and mutually dependent.

       44.     Appeals. The period in which an appeal must be filed shall commence upon the

entry of this Order on the docket.

       45.     Binding Effect; Waiver of Bankruptcy Rules 3020(e), 6004(h), and 7062 and

Federal Rule of Civil Procedure 62(a). The fourteen (14) day stay provided by Bankruptcy Rules

3020(e), 6004(h), and 7062 and Federal Rule of Civil Procedure 62(a) shall not apply to this

Order. Immediately upon the entry of this Order: (a) the provisions of the Plans shall be binding

upon (i) the Debtors, (ii) JD Holdings, (iii) all Holders of Claims against, or Equity Interests in,

the Debtors, if any, (iv) each Entity or Person acquiring property under the Plans, (v) any other

party in interest, (vi) any Entity or Person making an appearance in the Chapter 11 Cases, and

(vii) each of the foregoing’s respective affiliates, and each of their respective current or former

trustees, beneficiaries, shareholders, directors, members, partners, managers, officers,




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employees, agents, representatives, attorneys, beneficiaries, and/or guardians, or the heirs,

executors, administrators, successors or assigns of any of the foregoing; and (b) the Debtors and

JD Holdings are authorized but not required to consummate the Plans immediately upon entry of

this Order.

       46.     Conflicts with This Order. The provisions of the Plans and this Order shall be

construed in a manner consistent with each other so as to effect the purpose of each; provided,

however, that if there is determined to be any inconsistency between any Plans provision and any

provision of this Order that cannot be so reconciled, then solely to the extent of such

inconsistency, the provisions of this Order shall govern, and any provision of this Order shall be

deemed a modification of the Plans and shall control and take precedence. Subject to paragraph

23 of this Order, the provisions of this Order are integrated with each other and are non-

severable and mutually dependent.

       47.     Failure of the Plans to Go Effective Timely. In the event that the Effective Date

does not occur by the Outside Effective Date, then unless the Debtors agree otherwise, and

except as otherwise set forth in this paragraph 47, this Order shall be null and void and of no

effect, the APA, the PSA, and related Settlement Agreement by and between the Debtors and JD

Holdings shall govern the parties’ rights, and the assumption of Assumed Agreements set forth

herein shall be null and void and of no effect, provided however, that as to any Unexpired Leases

of real property the time for which assumption will have expired as of the date of this Order

(whether by statute or agreement of the lessor), such Unexpired Leases shall be deemed assumed

as of the date of this Order.

Dated: May 11, 2018
Kansas City, Kansas

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SUBMITTED BY:

OF COUNSEL:                                MCDOWELL RICE SMITH & BUCHANAN

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